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                    IN THE UNITED STATES DISTRICT COURTiLIyQ
                   FOR THE SOUTHERN DISTRICT OF GEORG Sam,
                             WAYCROSS DIVISION




UNITED STATES OF AMERICA                                         C:L    t ==.
                                                                  S) . s 3 .
                                                       CASE NO . CR505-009
             V.

CECIL HARVEY, SABRINA O 'STEEN,
ANTHONY CROSBY, a/k/a "Rooster",
and CRYSTAL GIDDENS



                                       ORDER


      The Court has been advised that all motions filed in this case have been resolved

by the parties, except for Cecil Harvey's Motion for a New Attorney .

      Accordingly, all such resolved motions are hereby DISMISSED as moot.

      SO ORDERED, this          Z      day of June, 2005 .




                                                   MES E. GRAHAM
                                                  NITED STATES MAGISTRATE JUDGE
